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 8                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 9                                    SACRAMENTO DIVISION
10
     UNITED STATES OF AMERICA,                     ) No. CASE NO. Cr.S-07-248-WBS-DAD
11                                                 )
                    Plaintiff,                     )
12      vs.                                        ) ORDER
                                                   )
13   OSCAR CAMPOS-PADILLA                          )
                                                   )
14                  Defendant.                     )
                                                   )
15

16   GOOD CAUSE SHOWN,

17            IT IS HEREBY ORDERED that Defendant Oscar Campos-Padilla is allowed to travel to
18   South Lake Tahoe, CA on Friday, February 13th, 2009 at 5 P.M. and returning Monday, February
19
     16th, 2009 arriving at his home no later than 4 P.M. Prior to leaving the Defendant shall provide a
20
     detailed travel itinerary to U.S. Pre-Trial Services Laura Weigel.
21

22   SO ORDERED.
23

24   Dated: February 10, 2009.
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